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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                                                                                       November 12, 2021
                            UNITED STATES DISTRICT COURT
                                                                                        Nathan Ochsner, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION


LETRICIA L. RIVAS,                                §
                                                  §
         Plaintiff,                               §
                                                  §
VS.                                               §   CIVIL ACTION NO. 7:21-CV-354
                                                  §
GOLD STAR FINANCE, INC.,                          §
                                                  §
         Defendant.                               §

                                    ORDER TO SHOW CAUSE

       The parties have announced to the Court that all matters in dispute and controversy

between them have been fully and finally compromised and settled. The parties further

announced their desire to discontinue any further prosecution of this litigation and their intention

to jointly request dismissal of this action. Therefore,

       IT IS HEREBY ORDERED that the parties shall have until January 13, 2022, to file

appropriate dismissal documents with this Court disposing of this matter. Should the parties fail

to timely file such documents with this Court, the parties are HEREBY ORDERED to appear

before this Honorable Court on the January 14, 2022, at 9:30 a.m. to show cause why they have

failed to comply with this Order.

       All current settings are hereby cancelled. All pending motions are denied without

prejudice as mooted by the settlement announced in this cause.

        SO ORDERED November 12, 2021, at McAllen, Texas.


                                                          ______________________________
                                                          Randy Crane
                                                          United States District Judge




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